        Case 2:15-cr-00118-KJM Document 37 Filed 09/21/15 Page 1 of 3


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     EARSHELL HAYES
 6
 7                                  UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                        No. 2:15-CR-00118-MCE

11                     Plaintiff,                     AMENDED STIPULATION AND ORDER
                                                      TO CONTINUE STATUS CONFERENCE,
12          v.                                        AND TO EXCLUDE TIME PURSUANT TO
                                                      THE SPEEDY TRIAL ACT
13   MICHAEL MATHEWS, et al,

14                     Defendant.

15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their

17   respective counsel, Paul Hemesath, Assistant United States Attorney, attorney for

18   plaintiff; Mark Reichel,       attorney for defendant Michael Mathews; Gregory Foster

19   attorney for defendant David Dixon; Philip Cozens attorney for defendant Leon Fields,

20   Jr. and Michael E. Hansen, attorney for defendant Earshell Hayes, that the previously-

21   scheduled status conference date of September 17, 2015, be vacated and the matter set

22   for status conference on November 5, 2015, at 9:00 a.m.

23          This continuance is requested because defense counsel needs additional time to

24   review discovery received in this case. All counsel were retained or appointed within the

25   last 120 days.

26          The Government concurs with this request.

27          Further, the parties agree and stipulate the ends of justice served by the granting

28   of such a continuance outweigh the best interests of the public and the defendants in a
                                                     1
     Amended Stipulation and Order to Continue Status Conference
        Case 2:15-cr-00118-KJM Document 37 Filed 09/21/15 Page 2 of 3


 1   speedy trial and that time within which the trial of this case must be commenced under
 2   the Speedy Trial Act should therefore be excluded under 18 U.S.C. section
 3   3161(h)(7)(B)(iv), corresponding to Local Code T4 (to allow defense counsel time to
 4   prepare), from the date of the parties’ stipulation, September 15, 2015, to and including
 5   November 5, 2015.
 6          Accordingly, the parties respectfully request the Court adopt this proposed
 7   stipulation.
 8          IT IS SO STIPULATED.
 9   Dated: September 16, 2015                            Respectfully submitted,
10                                                        /s/ Michael E. Hansen
                                                          MICHAEL E. HANSEN
11                                                        Attorney for Defendant
                                                          EARSHELL HAYES
12
                                                          By: /s/ Michael E. Hansen for
13                                                        GREGORY FOSTER
                                                          Attorney for Defendant
14                                                        DAVID DIXON
15                                                        By: /s/ Michael E. Hansen for
                                                          MARK REICHEL
16                                                        Attorney for Defendant
                                                          MICHAEL MATHEWS
17
                                                          By: /s/ Michael E. Hansen for
18                                                        PHILIP COZENS
                                                          Attorney for Defendant
19                                                        LEON FIELDS, JR.
20   Dated: September 16, 2015                            BENJAMIN B. WAGNER
                                                          United States Attorney
21
                                                          By: /s/ Michael E. Hansen for
22                                                        PAUL HEMESATH
                                                          Assistant U.S. Attorney
23                                                        Attorney for Plaintiff
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     Amended Stipulation and Order to Continue Status Conference
        Case 2:15-cr-00118-KJM Document 37 Filed 09/21/15 Page 3 of 3


 1                                                ORDER
 2          The Court, having received, read, and considered the stipulation of the parties,
 3   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety
 4   as its order. Based on the stipulation of the parties and the recitation of facts contained
 5   therein, the Court finds that it is unreasonable to expect adequate preparation for pretrial
 6   proceedings and trial itself within the time limits established in 18 U.S.C. section 3161.
 7   In addition, the Court specifically finds that the failure to grant a continuance in this case
 8   would deny defense counsel to this stipulation reasonable time necessary for effective
 9   preparation, taking into account the exercise of due diligence. The Court finds that the
10   ends of justice to be served by granting the requested continuance outweigh the best
11   interests of the public and the defendants in a speedy trial.
12          The Court orders that the time from the date of the parties’ stipulation, September
13   16, 2015, to and including November 5, 2015, shall be excluded from computation of
14   time within which the trial of this case must be commenced under the Speedy Trial Act,
15   pursuant to 18 U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for
16   defense counsel to prepare). It is further ordered that the September 17, 2015, status
17   conference shall be continued until November 5, 2015, at 9:00 a.m.
18          IT IS SO ORDERED.
19   Dated: September 18, 2015
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     Amended Stipulation and Order to Continue Status Conference
